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                                  6
                                                                    UNITED STATES DISTRICT COURT
                                  7
                                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  8
                                  9   JUAN ALCAZAR, individually and on                 CASE NO.:
                                      behalf of all others similarly situated,
                                 10
                                                                                                 CLASS ACTION COMPLAINT
                                                       Plaintiff,
                                 11                                                         1.   VIOLATIONS OF THE AMERICANS
                                             vs.                                                 WITH DISABILITIES ACT OF 1990, 42
                                 12                                                              U.S.C. §12181
3055 Wilshire Blvd, 12th Floor




                                      MIELE, INCORPORATED, a Delaware                       2.   VIOLATIONS OF THE UNRUH CIVIL
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                                 13
                                      corporation; and DOES 1 to 10, inclusive,                  RIGHTS ACT
                                 14                                                              DEMAND FOR JURY TRIAL
                                                              Defendants.
                                 15
                                 16          Plaintiff Juan Alcazar (“Plaintiff”), individually and on behalf of all others similarly
                                 17   situated, brings this action based upon his personal knowledge as to himself and his own acts, and
                                 18   as to all other matters upon information and belief, based upon, inter alia, the investigations of
                                 19   his attorneys.
                                 20                                      NATURE OF THE ACTION
                                 21          1.        Plaintiff is a visually-impaired and legally blind person who requires screen-
                                 22   reading software to read website content using his computer. Plaintiff uses the terms “blind” or
                                 23   “visually-impaired” to refer to all people with visual impairments who meet the legal definition
                                 24   of blindness in that they have a visual acuity with correction of less than or equal to 20 x 200.
                                 25   Some blind people who meet this definition have limited vision. Others have no vision.
                                 26          2.        Plaintiff, individually and on behalf of those similarly situated persons (hereafter
                                 27   “Class Members”), brings this Class Action to secure redress against Defendant Miele,
                                 28   Incorporated (“Defendant”) and DOES 1-10, for its failure to design, construct, maintain, and
                                                                                        1
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                                  1   operate its website to be fully and equally accessible to and independently usable by Plaintiff and

                                  2   other blind or visually-impaired people. Defendant’s denial of full and equal access to its website,

                                  3   and therefore denial of its products and services offered thereby and in conjunction with its

                                  4   physical locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act

                                  5   (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).

                                  6          3.      Because Defendant’s website, https://www.mieleusa.com/ (the “Website” or

                                  7   “Defendant’s website”), is not fully or equally accessible to blind and visually-impaired

                                  8   consumers in violation of the ADA, Plaintiff seeks a permanent injunction to cause a change in

                                  9   Defendant’s corporate policies, practices, and procedures so that Defendant’s website will

                                 10   become and remain accessible to blind and visually-impaired consumers.

                                 11                                            THE PARTIES

                                 12          4.      Plaintiff, at all times relevant and as alleged herein, is a resident of the County of
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                                 13   San Mateo. Plaintiff is a legally blind, visually-impaired handicapped person, a member of a

                                 14   protected class of individuals under the ADA pursuant to 42 U.S.C. § 12102(1)-(2), and the

                                 15   regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

                                 16          5.      Defendant is a Delaware corporation, with its headquarters in Princeton, New

                                 17   Jersey. Defendant’s servers for the website are in the United States. Defendant conducts a large

                                 18   amount of its business in California, and the United States as a whole. These stores constitute

                                 19   places of public accommodation. Defendant’s stores provide to the public important goods and
                                 20   services. Defendant’s website provides consumers with access to an array of household and

                                 21   commercial appliances and services which are available online and in retail stores for purchase.

                                 22   Consumers can further access information about store locations, product information, service

                                 23   packages, delivery and installation services, scheduling technicians online, warranty

                                 24   policies, promotions, memberships, events, discounts, career opportunities, and data

                                 25   protection.

                                 26          6.      Plaintiff is unaware of the true names, identities, and capacities of each Defendant

                                 27   sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this complaint to allege the true

                                 28   names and capacities of DOES 1 to 10, if and when ascertained. Plaintiff is informed and believes,
                                                                                       2
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                                  1   and thereupon alleges, that each Defendant sued herein as a DOE is legally responsible in some

                                  2   manner for the events and happenings alleged herein and that each Defendant sued herein as a

                                  3   DOE proximately caused injuries and damages to Plaintiff as set forth below.

                                  4          7.      Defendant’s stores are public accommodations within the definition of Title III of

                                  5   the ADA, 42 U.S.C. § 12181(7).

                                  6          8.      The website, https://www.mieleusa.com/, is a service, privilege, or advantage of

                                  7   Defendant’s services, products, and locations.

                                  8                                  JURISDICTION AND VENUE

                                  9          9.      This Court has subject matter jurisdiction over the state law claims alleged in this

                                 10   Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §1332(d)(2)(A) because: (a) the

                                 11   matter in controversy exceeds the sum of $5 million, exclusive of interest and costs; and (b) some

                                 12   of the class members are citizens of a state (California) that is different from the state of
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                                 13   citizenship of Defendant (New Jersey).

                                 14          10.     Defendant is subject to personal jurisdiction in this District. Defendant has been

                                 15   and continues to commit the acts or omissions alleged herein in the Northern District of

                                 16   California, which, has caused injury and violated rights prescribed by the ADA and UCRA to

                                 17   Plaintiff, other blind, and other visually impaired-consumers. A substantial part of the acts and

                                 18   omissions giving rise to Plaintiff’s claims occurred in the Northern District of California.

                                 19   Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment

                                 20   of the facilities, goods, and services of Defendant’s website in San Mateo County. The access

                                 21   barriers Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s full

                                 22   and equal access multiple times in the past and now deter Plaintiff on a regular basis from

                                 23   accessing Defendant’s website. Similarly, the access barriers Plaintiff has encountered on

                                 24   Defendant’s website have impeded Plaintiff’s full and equal enjoyment of goods and services

                                 25   offered at Defendant’s brick-and-mortar stores.

                                 26          11.     This Court also has subject-matter jurisdiction over this action pursuant to 28

                                 27   U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

                                 28   U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
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                                  1            12.        This Court has personal jurisdiction over Defendant because it conducts and

                                  2   continues to conduct a substantial and significant amount of business in the State of California,

                                  3   County of San Mateo, and because Defendant's offending website is available across California.

                                  4            13.        Venue is proper in the Northern District of California pursuant to 28 U.S.C. §1391

                                  5   because Plaintiff resides in this District, Defendant conducts and continues to conduct a

                                  6   substantial and significant amount of business in this District, Defendant is subject to personal

                                  7   jurisdiction in this District, and a substantial portion of the conduct complained of herein occurred

                                  8   in this District.

                                  9             THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET

                                 10            14.        The Internet has become a significant source of information, a portal, and a tool

                                 11   for conducting business, doing everyday activities such as shopping, learning, banking,

                                 12   researching, as well as many other activities for sighted, blind and visually-impaired persons
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                                 13   alike.

                                 14            15.        In today's tech-savvy world, blind and visually-impaired people have the ability to

                                 15   access websites using keyboards in conjunction with screen access software that vocalizes the

                                 16   visual information found on a computer screen. This technology is known as screen-reading

                                 17   software. Screen-reading software is currently the only method a blind or visually-impaired

                                 18   person may independently access the internet. Unless websites are designed to be read by screen-

                                 19   reading software, blind and visually-impaired persons are unable to fully access websites, and the

                                 20   information, products, and services contained thereon.

                                 21            16.        Blind and visually-impaired users of Windows operating system-enabled

                                 22   computers and devices have several screen-reading software programs available to them. Some

                                 23   of these programs are available for purchase and other programs are available without the user

                                 24   having to purchase the program separately. Job Access With Speech, otherwise known as

                                 25   “JAWS,” is currently the most popular, separately purchased and downloaded screen-reading

                                 26   software program available for a Windows computer.

                                 27            17.        For screen-reading software to function, the information on a website must be

                                 28   capable of being rendered into text. If the website content is not capable of being rendered into
                                                                                           4
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                                  1   text, the blind or visually-impaired user is unable to access the same content available to sighted

                                  2   users.

                                  3            18.   The international website standards organization, the World Wide Web

                                  4   Consortium, known throughout the world as W3C, has published Success Criteria for version 2.0

                                  5   of the Web Content Accessibility Guidelines ("WCAG 2.0" hereinafter). WCAG 2.0 are well-

                                  6   established guidelines for making websites accessible to blind and visually-impaired people.

                                  7   These guidelines are adopted, implemented, and followed by most large business entities who

                                  8   want to ensure their websites are accessible to users of screen-reading software programs. Though

                                  9   WCAG 2.0 has not been formally adopted as the standard for making websites accessible, it is

                                 10   one of, if not the most, valuable resource for companies to operate, maintain, and provide a

                                 11   website that is accessible under the ADA to the public.

                                 12            19.   Within this context, the Ninth Circuit has recognized the viability of ADA claims
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                                 13   against commercial website owners/operators with regard to the accessibility of such websites.

                                 14   Robles v. Domino’s Pizza, LLC, Docket No. 17-55504 (9th Cir. Apr 13, 2017), Court Docket No.

                                 15   BL-66. This is in addition to the numerous courts that already recognized such application.

                                 16            20.   Each of Defendant’s violations of the Americans with Disabilities Act is likewise

                                 17   a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights Act provides that any

                                 18   violation of the ADA constitutes a violation of the Unruh Civil Rights Act. Cal. Civ. Code, §

                                 19   51(f).

                                 20            21.   Further, Defendant’s actions and inactions denied Plaintiff full and equal access to

                                 21   their accommodations, facilities, and services. A substantial motivating reason for Defendant to

                                 22   deny Plaintiff access was the perception of Plaintiff’s disability. Defendant’s denial of Plaintiff’s

                                 23   accessibility was a substantial motivating reason for Defendant’s conduct. Plaintiff was harmed

                                 24   due to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor in causing

                                 25   the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, § 51.

                                 26            22.   Inaccessible or otherwise non-compliant websites pose significant access barriers

                                 27   to blind and visually-impaired persons. Common barriers encountered by blind and visually

                                 28   impaired persons include, but are not limited to, the following:
                                                                                        5
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                                  1        a. A text equivalent for every non-text element is not provided;

                                  2        b. Title frames with text are not provided for identification and navigation;

                                  3        c. Equivalent text is not provided when using scripts;

                                  4        d. Forms with the same information and functionality as for sighted persons are

                                  5           not provided;

                                  6        e. Information about the meaning and structure of content is not conveyed by

                                  7           more than the visual presentation of content;

                                  8        f. Text cannot be resized without assistive technology up to 200 percent without

                                  9           loss of content or functionality;

                                 10        g. If the content enforces a time limit, the user is not able to extend, adjust or

                                 11           disable it;

                                 12        h. Web pages do not have titles that describe the topic or purpose;
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                                 13        i. The purpose of each link cannot be determined from the link text alone or from

                                 14           the link text and its programmatically determined link context;

                                 15        j. One or more keyboard operable user interface lacks a mode of operation where

                                 16           the keyboard focus indicator is discernible;

                                 17        k. The default human language of each web page cannot be programmatically

                                 18           determined;

                                 19        l. When a component receives focus, it may initiate a change in context;

                                 20        m. Changing the setting of a user interface component may automatically cause a

                                 21           change of context where the user has not been advised before using the

                                 22           component;

                                 23        n. Labels or instructions are not provided when content requires user input;

                                 24        o. In content which is implemented by using markup languages, elements do not

                                 25           have complete start and end tags, elements are not nested according to their

                                 26           specifications, elements may contain duplicate attributes and/or any IDs are

                                 27           not unique;

                                 28        p. Inaccessible Portable Document Format (PDFs); and,
                                                                            6
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                                  1                  q. The name and role of all User Interface elements cannot be programmatically

                                  2                      determined; items that can be set by the user cannot be programmatically set;

                                  3                      and/or notification of changes to these items is not available to user agents,

                                  4                      including assistive technology.

                                  5                                    FACTUAL BACKGROUND

                                  6          23.     Defendant offers the https://www.mieleusa.com/ website to the public. The

                                  7   website offers features which should allow all consumers to access the goods and services which

                                  8   Defendant offers in connection with its physical locations. The goods and services offered by

                                  9   Defendant include, but are not limited to the following, which allow consumers to access an

                                 10   assortment of household and commercial appliances, such as kitchen products including: ovens,

                                 11   microwaves, drawers, cooktops, ventilation hoods, dishwashers, refrigerators, freezers, and

                                 12   coffee machines; laundry care including: washing machines, tumble dryers, ironing appliances,
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                                 13   rotary iron; cleaning products including: vacuums, filters, fragrances, detergents, and additional

                                 14   products and services which are available online and in retail stores for purchase. Consumers can

                                 15   further access information about store locations, product information, service packages, delivery

                                 16   and installation services, scheduling technicians online, warranty policies, promotions,

                                 17   memberships, events, discounts, career opportunities, and data protection.

                                 18          24.     Based on information and belief, it is Defendant's policy and practice to deny

                                 19   Plaintiff and Class Members, along with other blind or visually-impaired users, access to
                                 20   Defendant’s website, and to therefore specifically deny the goods and services that are offered

                                 21   and integrated with Defendant’s stores. Due to Defendant's failure and refusal to remove access

                                 22   barriers on its website, Plaintiff, Class Members and other visually-impaired persons have been

                                 23   and are still being denied equal and full access to Defendant’s stores and the numerous household

                                 24   and commercial appliances and additional goods, services, and benefits offered to the public

                                 25   through Defendant’s Website.

                                 26   Defendant’s Barriers on Unruh Civil Rights Act. Cal. Civ. Code, § 51(f) Deny Plaintiff and

                                 27                                       Class Members’ Access

                                 28          25.     Plaintiff is a visually-impaired and legally blind persons, who cannot use a
                                                                                      7
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                                  1   computer without the assistance of screen-reading software. However, Plaintiff is a proficient

                                  2   user of the JAWS screen-reader as well as Mac’s VoiceOver and use both to access the internet.

                                  3   Plaintiff has visited https://www.mieleusa.com/ on several separate occasions using the JAWS

                                  4   and/or VoiceOver screen-readers.

                                  5          26.     During Plaintiff’s numerous visits to Defendant’s website, Plaintiff encountered

                                  6   multiple access barriers which denied Plaintiff full and equal access to the facilities, goods and

                                  7   services offered to the public and made available to the public on Defendant’s website, and its

                                  8   prior iterations. Due to the widespread access barriers Plaintiff and Class Members encountered

                                  9   on Defendant’s websites, Plaintiff and Class Members have been deterred, on a regular basis,

                                 10   from accessing Defendant’s website. Similarly, the access barriers Plaintiff has encountered on

                                 11   Defendant’s website have deterred Plaintiff and Class Members from visiting Defendant’s brick-

                                 12   and-mortar stores.
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                                 13          27.     While attempting to navigate Defendant’s website, Plaintiff and Class Members

                                 14   encountered multiple accessibility barriers for blind or visually-impaired people that include, but

                                 15   are not limited to, the following:

                                 16                  a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is invisible

                                 17                        code embedded beneath a graphic or image on a website that is read to a user

                                 18                        by a screen-reader. For graphics or images to be fully accessible for screen-

                                 19                        reader users, it requires that alt-text be coded with each graphic or image so

                                 20                        that screen-reading software can speak the alt-text to describe the graphic or

                                 21                        image where a sighted user would just see the graphic or image. Alt-text does

                                 22                        not change the visual presentation, but instead a text box shows when the

                                 23                        cursor hovers over the graphic or image. The lack of alt-text on graphics and

                                 24                        images prevents screen-readers from accurately vocalizing a description of the

                                 25                        image or graphic. As a result, Plaintiff and Class Members who are blind and

                                 26                        visually-impaired customers are unable to determine what household and

                                 27                        commercial appliances are available for purchase, access information about

                                 28                        products, service packages, delivery and installation services, warranty
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                                  1                      policies, promotions, data protection, memberships, discounts, events, find

                                  2                      Defendant’s store locations, book technicians online, or complete any

                                  3                      purchases.

                                  4                  b. Empty Links that contain No Text causing the function or purpose of the link

                                  5                      to not be presented to the user. This can introduce confusion for keyboard and

                                  6                      screen-reader users;

                                  7                  c. Redundant Links where adjacent links go to the same URL address which

                                  8                      results in additional navigation and repetition for keyboard and screen-reader

                                  9                      users; and

                                 10                  d. Linked Images missing alt-text, which causes problems if an image within a

                                 11                      link does not contain any descriptive text and that image does not have alt-text.

                                 12                      A screen reader then has no content to present the user as to the function of the
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                                 13                      link, including information or links for and contained in PDFs.

                                 14          28.     Recently in 2020, Plaintiff attempted to do business with Defendant on

                                 15   Defendant’s website and encountered barriers to access on Defendant’s website.

                                 16          29.     Despite past and recent attempts to do business with Defendant on its website, the

                                 17   numerous access barriers contained on the website and encountered by Plaintiff, has denied

                                 18   Plaintiff full and equal access to Defendant’s website. Plaintiff and Class Members, as a result of

                                 19   the barriers on Defendant’s website, continue to be deterred on a regular basis from accessing

                                 20   Defendant’s website. Likewise, based on the numerous access barriers Plaintiff and Class

                                 21   Members have been deterred and impeded from the full and equal enjoyment of goods and

                                 22   services offered in Defendant’s stores and from making purchases at such physical locations.

                                 23                          Defendant Must Remove Barriers to Its Website

                                 24          30.     Due to the inaccessibility of the Defendant’s website, blind and visually-impaired

                                 25   customers such as the Plaintiff, who need screen-readers, cannot fully and equally use or enjoy

                                 26   the facilities and services the Defendant offers to the public on its website. The access barriers

                                 27   the Plaintiff encountered have caused a denial of the Plaintiff’s full and equal access in the past,

                                 28   and now deter the Plaintiff on a regular basis from accessing the website.
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                                  1          31.     These access barriers on Defendant’s website have deterred Plaintiff from visiting

                                  2   Defendant’s physical locations and enjoying them equal to sighted individuals because: Plaintiff

                                  3   was unable to find the location and hours of operation of Defendant’s locations on its website, as

                                  4   a result Plaintiff is prevented from visiting the locations, and is unable to view and purchase

                                  5   products and/or services. Plaintiff and Class Members intend to visit the Defendant’s locations in

                                  6   the near future if Plaintiff and Class Members could access Defendant’s website.

                                  7          32.     If the website were equally accessible to all, Plaintiff and Class Members could

                                  8   independently navigate the website and complete a desired transaction, as sighted individuals do.

                                  9          33.     Plaintiff, through Plaintiff’s attempts to use the website, has actual knowledge of

                                 10   the access barriers that make these services inaccessible and independently unusable by blind and

                                 11   visually-impaired people.

                                 12          34.     Because simple compliance with WCAG 2.0/WCAG 2.1 would provide Plaintiff
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                                 13   and Class Members who are visually-impaired consumers with equal access to the website,

                                 14   Plaintiff and Class Members allege that Defendant engaged in acts of intentional discrimination,

                                 15   including, but not limited to, the following policies or practices: constructing and maintaining a

                                 16   website that is inaccessible to visually-impaired individuals, including Plaintiff and Class

                                 17   Members; failing to construct and maintain a website that is sufficiently intuitive so as to be

                                 18   equally accessible to visually-impaired individuals, including Plaintiff and Class Members; and

                                 19   failing to take actions to correct these access barriers in the face of substantial harm and

                                 20   discrimination to blind and visually-impaired consumers, such as Plaintiff and Class Members,

                                 21   as a member of a protected class.

                                 22          35.     The Defendant uses standards, criteria or methods of administration that have the

                                 23   effect of discriminating or perpetuating the discrimination against others, as alleged herein.

                                 24          36.     The ADA expressly contemplates the injunctive relief that Plaintiff

                                 25   seeks in this action. In relevant part, the ADA requires:

                                 26          In the case of violations of … this title, injunctive relief shall include an order to
                                 27          alter facilities to make such facilities readily accessible to and usable by
                                             individuals with disabilities …. Where appropriate, injunctive relief shall also
                                 28          include requiring the … modification of a policy …. 42 U.S.C. § 12188(a)(2).
                                                                                       10
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                                  1          37.     Because Defendant’s website has never been equally accessible, and because

                                  2   Defendant lacks a corporate policy that is reasonably calculated to cause the Defendant’s website

                                  3   to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a

                                  4   permanent injunction requiring the Defendant to retain a qualified consultant acceptable to

                                  5   Plaintiff to assist Defendant to comply with WCAG 2.0/WCAG 2.1 guidelines for Defendant’s

                                  6   website. The website must be accessible for individuals with disabilities who use desktop

                                  7   computers, laptops, tablets, and smartphones. Plaintiff and Class Members seek that this

                                  8   permanent injunction require Defendant to cooperate with the agreed-upon consultant to: train

                                  9   Defendant’s employees and agents who develop the website on accessibility compliance under

                                 10   the WCAG 2.0/WCAG 2.1 guidelines; regularly check the accessibility of the website under the

                                 11   WCAG 2.0/WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-impaired

                                 12   persons to ensure that the Defendant’s website complies under the WCAG 2.0/WCAG 2.1
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                                 13   guidelines; and develop an accessibility policy that is clearly disclosed on the Defendant’s

                                 14   website, with contact information for users to report accessibility-related problems and require

                                 15   that any third-party vendors who participate on the Defendant’s website to be fully accessible to

                                 16   the disabled by conforming with WCAG 2.0/WCAG 2.1.

                                 17          38.     If Defendant’s website were accessible, Plaintiff and Class Members could

                                 18   independently access information about store locations, hours, services offered and services

                                 19   available for online purchase.

                                 20          39.     Although Defendant may currently have centralized policies regarding

                                 21   maintaining and operating Defendant’s website, Defendant lacks a plan and policy reasonably

                                 22   calculated to make Defendant’s website fully and equally accessible to, and independently usable

                                 23   by, blind and other visually-impaired consumers.

                                 24          40.     Defendant has, upon information and belief, invested substantial sums in

                                 25   developing and maintaining the Defendant’s website and the Defendant has generated significant

                                 26   revenue from the Defendant’s website. These amounts are far greater than the associated cost of

                                 27   making Defendant’s website equally accessible to visually impaired customers. Plaintiff has also

                                 28   visited prior iterations of the Defendant’s website, https://www.mieleusa.com/, and also
                                                                                     11
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                                  1   encountered such barriers.

                                  2          41.     Without injunctive relief, Plaintiff and Class Members will continue to be unable

                                  3   to independently use Defendant’s website, violating their rights.

                                  4                                  CLASS ACTION ALLEGATIONS

                                  5          42.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

                                  6   nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2), the Nationwide class is initially defined

                                  7   as follows:

                                  8          all legally blind individuals who have attempted to access Defendant’s website by
                                  9          the use of a screen reading software during the applicable limitations period up to
                                             and including final judgment in this action.
                                 10
                                             43.     The California class is initially defined as follows:
                                 11
                                             all legally blind individuals in the State of California who have attempted to access
                                 12          Defendant’s website by the use of a screen reading software during the applicable
                                             limitations period up to and including final judgment in this action.
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                                 13
                                 14          44.     Excluded from each of the above Classes is Defendant, including any entity in
                                 15   which Defendant has a controlling interest, is a parent or subsidiary, or which is controlled by
                                 16   Defendant, as well as the officers, directors, affiliates, legal representatives, heirs, predecessors,
                                 17   successors, and assigns of Defendant. Also excluded are the judge and the court personnel in this
                                 18   case and any members of their immediate families. Plaintiff reserves the right to amend the Class
                                 19   definitions if discovery and further investigation reveal that the Classes should be expanded or
                                 20   otherwise modified.
                                 21          45.     Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and may
                                 22   properly be maintained as a class action against Defendant under Rules 23(b)(1)(B) and 23(b)(3)
                                 23   of the Federal Rules of Civil Procedure. While the exact number and identities of other Class
                                 24   Members are unknown to Plaintiff at this time, Plaintiff is informed and believes that there are
                                 25   hundreds of thousands of Members in the Class. Based on the number of customers who have
                                 26   visited Defendant’s California stores, it is estimated that the Class is composed of more than
                                 27   10,000 persons. Furthermore, even if subclasses need to be created for these consumers, it is
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                                  1   estimated that each subclass would have thousands of Members. The Members of the Class are

                                  2   so numerous that joinder of all Members is impracticable and the disposition of their claims in a

                                  3   class action rather than in individual actions will benefit the parties and the courts.

                                  4          46.     Typicality: Plaintiff and Class Members’ claims are typical of the claims of the

                                  5   Members of the Class as all Members of the Class are similarly affected by Defendant’s wrongful

                                  6   conduct, as detailed herein.

                                  7          47.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Members

                                  8   of the Class in that they have no interests antagonistic to those of the other Members of the Class.

                                  9   Plaintiff has retained experienced and competent counsel.

                                 10          48.     Superiority: A class action is superior to other available methods for the fair and

                                 11   efficient adjudication of this controversy. Since the damages sustained by individual Class

                                 12   Members may be relatively small the expense and burden of individual litigation makes it
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                                 13   impracticable for the Members of the Class to individually seek redress for the wrongful conduct

                                 14   alleged herein. Furthermore, the adjudication of this controversy through a class action will avoid

                                 15   the potentially inconsistent and conflicting adjudications of the claims asserted herein. There will

                                 16   be no difficulty in the management of this action as a class action. If Class treatment of these

                                 17   claims were not available, Defendant would likely unfairly receive thousands of dollars or more

                                 18   in improper revenue.

                                 19          49.     Common Questions Predominate: Common questions of law and fact exist as to

                                 20   all Members of the Class and predominate over any questions solely affecting individual

                                 21   Members of the Class. Among the common questions of law and fact applicable to the Class are:

                                 22                       i. Whether Defendant’s website, https://www.mieleusa.com/, is inaccessible

                                 23                          to the visually-impaired who use screen reading software to access internet

                                 24                          websites;

                                 25                      ii. Whether Plaintiff and Class Members have been unable to access

                                 26                          https://www.mieleusa.com/ through the use of screen reading software;

                                 27                     iii. Whether the deficiencies in Defendant’s website violate the Americans

                                 28                          with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.;
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                                  1                     iv. Whether the deficiencies in Defendant’s website violate the California

                                  2                          Unruh Civil Rights Act, California Civil Code § 51 et seq.;

                                  3                      v. Whether, and to what extent, injunctive relief should be imposed on

                                  4                          Defendant to make https://www.mieleusa.com/ readily accessible to and

                                  5                          usable by visually-impaired individuals;

                                  6                     vi. Whether Plaintiff and Class Members are entitled to recover statutory

                                  7                          damages with respect to Defendant’s wrongful conduct; and

                                  8                    vii. Whether further legal and/or equitable relief should be granted by the Court

                                  9                          in this action.

                                 10          50.     The class is readily definable, and prosecution of this action as a Class action will

                                 11   reduce the possibility of repetitious litigation. Plaintiff knows of no difficulty which will be

                                 12   encountered in the management of this litigation which would preclude their maintenance of this
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                                 13   matter as a Class action.

                                 14          51.     The prerequisites to maintaining a class action for injunctive relief or equitable

                                 15   relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused to act on grounds

                                 16   generally applicable to the Class, thereby making appropriate final injunctive or equitable relief

                                 17   with respect to the Class as a whole.

                                 18          52.     The prerequisites to maintaining a class action for injunctive relief or equitable

                                 19   relief pursuant to Rule 23(b)(3) are met, as questions of law or fact common to the Class

                                 20   predominate over any questions affecting only individual Members; and a class action is superior

                                 21   to other available methods for fairly and efficiently adjudicating the controversy.

                                 22          53.     The prosecution of separate actions by Members of the Class would create a risk

                                 23   of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.

                                 24   Additionally, individual actions may be dispositive of the interest of all Members of the Class,

                                 25   although certain Class Members are not parties to such actions.

                                 26          54.     Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff

                                 27   seeks, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s

                                 28   systematic policies and practices make declaratory relief with respect to the Class as a whole
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                                  1   appropriate.

                                  2                                                COUNT I

                                  3           Violations of the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.

                                  4                  (On Behalf of Plaintiff, the Nationwide Class and the California Class)

                                  5          55.       Plaintiff alleges and incorporates herein by reference each and every allegation

                                  6   contained in paragraphs 1 through 54, inclusive, of this Complaint as if set forth fully herein.

                                  7          56.       Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No

                                  8   individual shall be discriminated against on the basis of disability in the full and equal enjoyment

                                  9   of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

                                 10   accommodation by any person who owns, leases (or leases to), or operates a place of public

                                 11   accommodation.” 42 U.S.C. § 12182(a).

                                 12          57.       Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also
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                                 13   includes, among other things: “a failure to make reasonable modifications in policies, practices,

                                 14   or procedures, when such modifications are necessary to afford such goods, services, facilities,

                                 15   privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

                                 16   demonstrate that making such modifications would fundamentally alter the nature of such goods,

                                 17   services, facilities, privileges, advantages or accommodations”; and “a failure to take such steps

                                 18   as may be necessary to ensure that no individual with a disability is excluded, denied services,

                                 19   segregated or otherwise treated differently than other individuals because of the absence of

                                 20   auxiliary aids and services, unless the entity can demonstrate that taking such steps would

                                 21   fundamentally alter the nature of the good, service, facility, privilege, advantage, or

                                 22   accommodation being offered or would result in an undue burden”. 42 U.S.C. §

                                 23   12182(b)(2)(A)(ii)-(iii). “A public accommodation shall take those steps that may be necessary

                                 24   to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

                                 25   treated differently than other individuals because of the absence of auxiliary aids and services,

                                 26   unless the public accommodation can demonstrate that taking those steps would fundamentally

                                 27   alter the nature of the goods, services, facilities, privileges, advantages, or accommodations being

                                 28   offered or would result in an undue burden, i.e., significant difficulty or expense.” 28 C.F.R. §
                                                                                       15
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                                  1   36.303(a). In order to be effective, auxiliary aids and services must be provided in accessible

                                  2   formats, in a timely manner, and in such a way as to protect the privacy and independence of the

                                  3   individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).

                                  4          58.        Defendant’s store locations are “public accommodations” within the meaning of

                                  5   42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from the sale of its

                                  6   amenities and services, privileges, advantages, and accommodations in California through its

                                  7   locations and related services, privileges, advantages, and accommodations and its Website.

                                  8   https://www.mieleusa.com/ is a service, privilege, advantage, and accommodation provided by

                                  9   Defendant that is inaccessible to customers who are visually-impaired like Plaintiff. This

                                 10   inaccessibility denies visually-impaired customers full and equal enjoyment of and access to the

                                 11   facilities and services, privileges, advantages, and accommodations that Defendant made

                                 12   available to the non-disabled public. Defendant is violating the Americans with Disabilities Act,
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                                 13   42 U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the services,

                                 14   privileges, advantages, and accommodations provided by https://www.mieleusa.com/. These

                                 15   violations are ongoing.

                                 16          59.        Defendant’s actions constitute intentional discrimination against Plaintiff and

                                 17   Class Members on the basis of a disability in violation of the Americans with Disabilities Act, 42

                                 18   U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is inaccessible to Plaintiff

                                 19   and Class Members; maintains the website in this inaccessible form; and has failed to take
                                 20   adequate actions to correct these barriers even after being notified of the discrimination that such

                                 21   barriers cause.

                                 22          60.        Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

                                 23   and incorporated therein, Plaintiff requests relief as set forth below.

                                 24                                               COUNT II

                                 25            Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.

                                 26                             (On Behalf of Plaintiff and the California Class)

                                 27          61.        Plaintiff alleges and incorporates herein by reference each and every allegation

                                 28   contained in paragraphs 1 through 60, inclusive, of this Complaint as if set forth fully herein.
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                                  1            62.   Defendant’s locations are “business establishments” within the meaning of the

                                  2   California Civil Code § 51 et seq. Defendant generates millions of dollars in revenue from the

                                  3   sale of its services in California through its store locations and related services, and

                                  4   https://www.mieleusa.com/is a service provided by Defendant that is inaccessible to customers

                                  5   who are visually-impaired like Plaintiff and Class Members. This inaccessibility denies visually-

                                  6   impaired customers full and equal access to Defendant’s facilities and services that Defendant

                                  7   makes available to the non-disabled public. Defendant is violating the Unruh Civil Rights Act,

                                  8   California Civil Code § 51 et seq., in that Defendant is denying visually-impaired customers the

                                  9   services provided by https://www.mieleusa.com/. These violations are ongoing.

                                 10            63.   Defendant’s actions constitute intentional discrimination against Plaintiff and

                                 11   Class Members on the basis of a disability in violation of the Unruh Civil Rights Act, Cal. Civil

                                 12   Code § 51 et seq. in that: Defendant has constructed a website that is inaccessible to Plaintiff and
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                                 13   Class Members; maintains the website in this inaccessible form; and has failed to take adequate

                                 14   actions to correct these barriers even after being notified of the discrimination that such barriers

                                 15   cause.

                                 16            64.   Defendant is also violating the Unruh Civil Rights Act, California Civil Code § 51

                                 17   et seq. in that the conduct alleged herein likewise constitutes a violation of various provisions of

                                 18   the ADA, 42 U.S.C. § 12101 et seq. Section 51(f) of the California Civil Code provides that a

                                 19   violation of the right of any individual under the ADA shall also constitute a violation of the
                                 20   Unruh Civil Rights Act.

                                 21            65.   The actions of Defendant were and are in violation of the Unruh Civil Rights Act,

                                 22   California Civil Code § 51 et seq., and, therefore, Plaintiff and Class Members are entitled to

                                 23   injunctive relief remedying the discrimination.

                                 24            66.   Plaintiff and Class Members are also entitled to statutory minimum damages

                                 25   pursuant to California Civil Code § 52 for each and every offense.

                                 26            67.   Plaintiff and Class Members are also entitled to reasonable attorneys’ fees and

                                 27   costs.

                                 28            68.   Plaintiff and Class Members are also entitled to a preliminary and permanent
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                                  1   injunction enjoining Defendant from violating the Unruh Civil Rights Act, California Civil Code

                                  2   § 51 et seq., and requiring Defendant to take the steps necessary to make

                                  3   https://www.mieleusa.com/ readily accessible to and usable by visually-impaired individuals.

                                  4                                       PRAYER FOR RELIEF

                                  5          WHEREFORE, Plaintiff, individually and on behalf of all Class Members, respectfully

                                  6   requests that the Court enter judgment in his favor and against Defendant as follows:

                                  7          A.      For an Order certifying the Nationwide Class and California Class as defined

                                  8                  herein and appointing Plaintiff and his Counsel to represent the Nationwide Class

                                  9                  and the California Class;

                                 10          B.      A preliminary and permanent injunction pursuant to 42 U.S.C. § 12188(a)(1) and

                                 11                  (2) and section 52.1 of the California Civil Code enjoining Defendant from

                                 12                  violating the Unruh Civil Rights Act and ADA and requiring Defendant to take
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                                 13                  the steps necessary to make https://www.mieleusa.com/ readily accessible to and

                                 14                  usable by visually-impaired individuals;

                                 15          C.      An award of statutory minimum damages of $4,000 per offense per person

                                 16                  pursuant to section 52(a) of the California Civil Code.

                                 17          D.      For attorneys’ fees and expenses pursuant to California Civil Code §§ 52(a),

                                 18                  52.1(h), and 42 U.S.C. § 12205;

                                 19          E.      For pre-judgment interest to the extent permitted by law;
                                 20          F.      For costs of suit; and

                                 21          G.      For such other and further relief as the Court deems just and proper.

                                 22   ///

                                 23   ///

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                                  1                                    DEMAND FOR JURY TRIAL

                                  2           Plaintiff, on behalf of himself and all others similarly situated, hereby demands a jury trial

                                  3   for all claims so triable.

                                  4
                                  5   Dated: April 27, 2020                                  Respectfully Submitted,

                                  6
                                                                                             /s/ Thiago M. Coelho
                                  7                                                          Thiago M. Coelho
                                  8                                                          Bobby Saadian
                                                                                             WILSHIRE LAW FIRM
                                  9                                                          Attorneys for Plaintiff and Proposed Class

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